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                                                                       JUDGE DAVID GUADERRAMA

U.S. Department of Justice                                                           I
United States Attorney
                                                                                     flN 23        P11    2:   29


United States District Court
                                                                                 I




Western District of Texas

 UNITED STATES OF AMERICA,                       §
                                                  §
          Plaintiff,                             §
                                                 §
 v.                                              §    CRIMINAL NO. EP-19-CR-
                                                 §
 JOSE ALEJANDRO VAQUERA,                         §

         Defendant.
                                                            E P 19 C R 3456
                             ORDER FOR BENCH WARRANT

        It appearing to the Court that an indictment has been returned against the below named
Defendant, it is hereby ORDERED that warrant issue for the arrest of said Defendant, returnable
instanter to the El Paso Division of this Court.


       ENTERED at El Paso, Texas, this                  day of                   ,   2019.



                                            UNITED STATES MAGISTRATE JUDGE


The United States Attorney recommends the following bail:


 Defendant                                       Recommended Amount of Bail
JOSE ALEJANDRO VAQUERA                           Detain without Bond




                                                                                             Rev. 01/12
